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  NEW YORK STATE DEPARTMENT
  OF FINANCIAL SERVICES




  In the Matter of

  OCWEN LOAN SERVICING, LLC




                                 CONSENT ORDER UNDER
                               NEW YORK BANKING LAW§ 44


          WHEREAS, Ocwen Financial Corporation, the parent company of Ocwen Loan

   Servicing, LLC (collectively, "Ocwen"), is one of the largest mortgage loan servicers in the

   United States, servicing more than 40,000 residential home loan accounts in New York held

  largely by distressed homeowners;

          WHEREAS, in the past two years, Ocwen has acquired several major servicers of home

  loans, including Litton Loan Servicing LP in 2011, as well as servicing rights from Saxon

  Mortgage Services, Inc. and JP Morgan Chase, Inc. in 2012, and has announced plans to further

  expand its servicing operations through the acquisition of additional mortgage servicing rights,

  including from Homeward Residential, Inc., fonnerly known as American Home Mortgage

  Servicing, Inc. ("AHMSI") and Residential Capital, LLC ("ResCAP");

         WHEREAS, on September 1, 2011, in connection with Ocwen's acquisition of Litton and

  amid concerns regarding Ocwen's rapid growth and capacity to properly board a significant

  portfolio of distressed home loans, Ocwen and the New York State Department of Financial
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    Services (the "Department") (together, the "Parties") entered into an Agreement on Mortgage

    Servicing Practices (the "Agreement") which required Ocwen to: (1) establish and maintain

    sufficient capacity to properly board and manage its significant portfolio of distressed loans; (2)

    engage in sound document execution and retention practices to ensure that mortgage files were

    accurate, complete, and reliable; and (3) implement a system of robust internal controls and

    oversight with respect to mortgage servicing practices performed by its staff and third-party

   vendors;

              WHEREAS, on December 15, 2011, the Agreement was amended to prevent Ocwen,

   among other things, from charging borrowers penalties, fees, costs and interest as a result of

   delays in court appearances caused by the closure of the law firm of Steven J. Baum, one of

   Ocwen's New York foreclosure counsel, following widespread allegations of improper

   foreclosure practices by the firm;


              WHEREAS, on June 13, 2012, the Department conducted a targeted examination of

   Ocwen to assess its compliance with the Agreement and Part 419 of the Superintendent's

   Regulations, which govern business conduct rules for servicers;


         ·• WHEREAS, the examination preliminarily identified gaps {n.the servicing records of . .

   certain loans that the Department believes indicate non-compliance by Ocwen, including, in

   some instances: (1) failing to send borrowers a 90-day notice prior to commencing a foreclosure

  action as required under Real Property Actions and Proceedings Law ("RP APL") § 1304; (2)

  commencing foreclosure actions on subprime loans without affirmatively alleging in the

  complaint that Ocwen has standing to bring the foreclosure action as required under RPAPL §

  13 02; and (3) commencing foreclosure actions without sufficient documentation of its standing

  to do so;

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              WHEREAS, the examination also preliminarily identified instances that the Department

    believes indicate non-compliance with the Agreement by Ocwen, including, in some instances:

    (1) failing to provide ce1tain bonowers direct contact information for their designated loss

    mitigation staff or a single point of contact ("SPOC"); (2) pursuing foreclosure actions against

    certain bonowers who are seeking a loan modification (refened to in the Agreement as "dual

    tracking"); (3) failing to conduct an independent review of certain loan modification denials; (4)

   failing to demonstrate its adoption of policies and procedures to effectively track sanctioned

   third-party vendors, including local foreclosure counsel; (5) failing to demonstrate its

   implementation of policies and procedures to verify borrower information on newly boarded

   accounts to accurately reflect the status and cunent balance of the borrower's account; and (6)

   failing to sufficiently document actions required to ensure that prior modification efforts are not

   rendered futile upon transfer of a servicing file to or from Ocwen;


             WHEREAS, the Department has preliminary concerns that Ocwen's practices have, in

   some instances: (1) deprived certain struggling homeowners in New York of many opportunities,

   including to cure the delinquencies on their loans before a foreclosure action was commenced;

  - and. (2) failing to provide .certain homeowners infonnation on whe.re Jo. c_ontact a .housjng

   counselor to assist in reaching a resolution with their lender;


             WHEREAS, the Department believes the preliminary evidence of non-compliance

  warrants the appointment of an independent monitor to conduct a comprehensive review of

  Ocwen's mortgage servicing files and practices, to which Ocwen has consented;


          NOW, THEREFORE, the Parties are willing to resolve the matters cited herein as

  follows:



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                                       SETTLEMENT PROVISIONS

    Mortgage Servicing Practices Compliance Review:

           1.        Within twenty (20) days of executing the Consent Order, Ocwen will identify an

   independent on-site monitor acceptable to the Department (the "Compliance Monitor") who will

   report directly to the Department to conduct a comprehensive review (the "Compliance Review")

   ofOcwen's servicing operations, including its compliance program and operational policies and

   procedures.

          2.        The Compliance Monitor will review and assess Ocwen's operations with respect

   to loans on 1-4 family residential property located in the State of New York, including any loans

   acquired during the term of the Compliance Monitor. Such review will, at a minimum, address

   the following:

          a. The adequacy of Ocwen's staffing levels for delinquent loans, loans in imminent risk

                of default and loans in default, including loans in foreclosure. The analysis should

                include the factors outlined in Paragraph 15 of the Agreement.

          b. The robustness of established policies and procedures governing loss mitigation

                programs and foreclosure alternatives, independent reviews of loan modifications,

                execution of documents, and dual tracking of defaulted loans.

          c. The fairness of servicing fees and foreclosure charges, including the elimination of

                penalties, fees, costs or interest associated with delays in court appearances as a direct

                result of the closing of the Steven J. Baum law firm and the substitution of counsel.

         d. The accuracy of borrower account information for all loans serviced or sub-serviced

                by Ocwen.

         e. Ocwen's compliance with state and federal law, including Part 419 ofthe

                Superintendent's Regulations and with the Agreement.

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            f.   Review by the Compliance Monitor of borrower complaints and recordings of

                 customer service, including those of the Collections and Loss Mitigation Units, to

                 assess the quality of information provided via telephone, as well as borrowers'

                 satisfaction with complaints and customer service assistance, and Ocwen's ability to

                 resolve borrower inquiries and complaints in a timely manner.

           3.       Based on the Compliance Review, the Compliance Monitor will identify needed

    corrective measures to address identified weaknesses and deficiencies in Ocwen's servicing

    practices, make recommendations to the Superintendent, and oversee their implementation as

    approved by the Superintendent. The Compliance Monitor will also periodically review and

   assess Ocwen's compliance with recommended corrective measures, as provided in paragraph 7

   of this Order.

           4.       Ocwen agrees to cooperate fully with the Compliance Monitor by, including but

   not limited to, providing the Compliance Monitor access to all relevant personnel and records

   necessary, including those at any overseas locations, to allow the Monitor to fulfill its duties.

   Any confidential customer and/or proprietary Ocwen information provided to the Monitor will

   remain the sole property of Ocwen and will be treated as confidential information, subject to

   reporting provisions outlined in this Order.

          5.        The terms of the Compliance Monitor will extend for a period of twenty-four (24)

   months from the date of formal engagement. Any dispute as to the scope of the Compliance

   Monitor's authority will be resolved by the Department in the exercise of its sole discretion after

   appropriate consultation with Ocwen and/or the Compliance Monitor.




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               6.    Within thirty (30) days of executing the Consent Order, Ocwen will submit to the

    Department for approval the proposed terms of the Compliance Monitor's engagement (the

    "Engagement Letter"). Ocwen will pay all reasonable and necessary costs of the Monitor.

               7.    Within ninety (90) days of Ocwen's receipt of the Department's written approval

    of such terms, the Compliance Monitor will submit to the Parties a written report of findings,

    including, if necessary, any proposed corrective measures from the Compliance review (the

    "Compliance Review Report"). The Compliance Monitor will submit written monthly action

   progress reports ("Progress Reports") to the Parties. On a quarterly basis, beginning on June 20,

   2013, the Monitor will issue a Progress Report covering the three-month period immediately

   preceding.

           8.       Within sixty (60) days of the receipt of the Compliance Review report, Ocwen

   will submit to the Department for approval a written plan that is designed to improve and

   enhance Ocwen's servicing of mortgage loans on 1-4 family residential property located in New

   York State incorporating any corrective measures outlined in the Compliance Review Report

   (the "Action Plan").      The Action Plan will provide for any enhanced internal controls and

   updates and/or revisions to current policies, procedures and processes in order to ensure full

   compliance with all applicable provisions of the Agreement, Superintendent's Regulation Part

   419, state and federal regulations governing the servicing of residential mortgage loans, and the

   requirements of this Consent Order. Upon receipt of written approval of the Action Plan by the

  Department, Ocwen will begin to implement the necessary changes.

  Breach of the Consent Order:

          9.        In the event that the Department believes Ocwen to be materially in breach of the

  Consent Order ("Breach"), the Department will provide written notice to Ocwen of the Breach



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     and Ocwen must, within ten (1 0) business days from the date of receipt of said notice, or on a

     later date if so determined in the sole discretion of the Department, appear before the Department

    to demonstrate that no Breach has occurred or, to the extent pertinent, that the Breach is not

    material or has been cured.

             10.    The Parties understand and agree that Ocwen's failure to make the required

    demonstration within the specified period is presumptive evidence of Ocwen's Breach. Upon a

    finding of Breach, the Department has all the remedies available to it under the New York

    Banking and Financial Services Laws and may use any and all evidence available to the

    Department for all ensuing hearings, notices, orders, and other remedies that may be available

    under New York Banking and Financial Services Laws.


    Waiver of Rights:

            11.     The Parties further understand and agree that no provision of the Consent Order is

    subject to review in any court or tribunal outside the Department.


   Parties Bound by the Consent Order:

            12.    It is further understood that the Consent Order is binding on the Department and

 ·- - - ocwe.n:·asweifas their s·ucCessor~i an.aassigris -that are within the s·upei~ision-onne· Department;
   but it specifically does not bind any federal or other state agencies or any law enforcement

   authorities.

           13.     During the period in which the Consent Order remains in effect, the approved

   Plans and Engagement Letter as referenced herein will not be amended or rescinded without the

 · prior written· ·approval of the Department, -other than amendments necessary to comply-with-­

   applicable laws and regulations.




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                                14.    Within ten (10) days after the end of each quarter following the execution of the

                Consent Order, Ocwen will submit to the Department written progress reports detailing the form

                and manner of all actions taken to secure compliance with the provisions of the Consent Order

                and the results thereof. The Department may, in writing, and in its discretion, discontinue the

                requirement for progress reports or modify the reporting schedule.


               Notices:

                               15.     All communications regarding this order will be sent to:

                              Gaurav Vasisht
                              Executive Deputy Superintendent
                              Banking Division
                              New York State Department of Financial Services
                              One State Street
                              New York, NY 10004

                             Ronald M. Faris
                             Chief Executive Officer
                             Ocwen Financial Corporation
                             1661 Worthington Road
                             West Palm Beach, FL 33416

              Miscellaneous:

                             16.      Each provision of the Consent Order will remain effective and enforceable for a

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              writing by both Parties.

                             17.      No promise, assurance, representation, or understanding other than those

             contained in the Consent Order have been made to induce any Party to agree to the provisions of

             the Consent Order.

              ·····--- ....... 18.    Nothing in this Consent Order shall preclude.the Departmentfrom.pursuing any

             examination, enforcement action or additional agreement with Ocwen relating to the subject of

             this Consent Order.

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     IN WI1NESS WHEREOF, the Parties have caused this Consent Order to be executed as of this
   6--:f4day of OeuA'Jk1 2012.



    OCWEN FINANCIAL CORPORATION                    NEW YORK STATE
                                                   DEPARTMENT OF FINANCIAL SERVICES

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